                                Case 18-24939            Doc 57       Filed 04/17/19           Page 1 of 2
                                               United States Bankruptcy Court
                                                   District of Maryland
In re:                                                                                                     Case No. 18-24939-NVA
Crystal L. Scott-Harris                                                                                    Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0416-1                  User: nguerra                      Page 1 of 1                          Date Rcvd: Apr 15, 2019
                                      Form ID: defntc                    Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Apr 17, 2019.
db             +Crystal L. Scott-Harris,   6415 Lehnert St.,   Gwynn Oak, MD 21207-5274

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Apr 17, 2019                                            Signature: /s/Joseph Speetjens

_

                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on April 15, 2019 at the address(es) listed below:
              Adam M. Freiman    adamfreiman@gmail.com, r54650@notify.bestcase.com
              Angela Nasuta    anasuta@albalawgroup.com, bankruptcy@albalawgroup.com
              George W. Liebmann    Gliebmann@lspa.comcastbiz.net, oshively@lspa.comcastbiz.net,
               MD25@ecfcbis.com,stifft@lspa.comcastbiz.net,liebmann@remote7solutions.com
                                                                                            TOTAL: 3
                              Case 18-24939          Doc 57      Filed 04/17/19       Page 2 of 2
                               IN THE UNITED STATES BANKRUPTCY COURT
                                    FOR THE DISTRICT OF MARYLAND
                                              at Baltimore
                                      In re:    Case No.: 18−24939 − NVA          Chapter: 7

Crystal L. Scott−Harris
Debtor


                                               DEFICIENCY NOTICE
DOCUMENT:                  52 − Application to Employ BK Global Real Estate Services as Broker and Verified Statement
                           of Proposed Party Filed by George W. Liebmann. (Attachments: # 1 Proposed Order # 2 Exhibit
                           A − Service Agreement # 3 Exhibit B − Affidavit of Disinterest) (Liebmann, George)

                           53 − Application to Employ Gladwin D'Costa of Maryland REO Realty as Realtor and Verified
                           Statement of Proposed Party Filed by George W. Liebmann. (Attachments: # 1 Proposed Order
                           # 2 Exhibit A − Affidavit of Disinterest # 3 Exhibit B − Listing Agreement) (Liebmann, George)

PROBLEM:                   The following items are deficient for the above pleading, and must be cured by 4/29/19.
                           Certificate of Service states the incorrect pleading being served.

CURE:                      Please file an amended Certificate of Service to the correct the type of pleading being served.

CONSEQUENCE: Failure to cure the problem by the date above may result in the pleading being stricken or other
             action the Court deems appropriate without further notice. For a proposed order, the failure to
             cure the problem may result in the relief sought being denied for want of prosecution.


Additional information on filing requirements: http://www.mdb.uscourts.gov/content/filing−requirements.
Additional information for non−attorney filers: http://www.mdb.uscourts.gov/content/after−filing.

Dated: 4/15/19
                                                                  Mark A. Neal, Clerk of Court
                                                                  by Deputy Clerk, Natalie Guerra
                                                                  301−344−3328
cc:    Debtor
       Attorney for Debtor − Adam M. Freiman

defntc (rev. 12/12/2016)
